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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

   OCWEN LOAN SERVICING, LLC,                  §
                                               §
          Plaintiff,                           §
                                               §
                                               § Civil Action No. 6:19-cv-00191
                                               §
   BEST MORTGAGE CORPORATION,                  §
   and MORTGAGE ELECTRONIC                     §
   REGISTRATION SYSTEMS, INC.,                 §
                                               §
          Defendants.                          §



                    AGREED ORDER AS TO PLAINTIFF AND DEFENDANT
                           BEST MORTGAGE CORPORATION

           Came on to be considered the Motion for Entry of Agreed Order as to Best Mortgage
   Corporation ("Motion"), as to Plaintiff Ocwen Loan Servicing, LLC ("Plaintiff') and Defendant
   Best Mortgage Corporation ("Defendant" and together with Plaintiff as "Parties"). The Court
   flnds that the Motion has merit and should be granted in its entirety. Therefore, it is,
           ORDERED, ADJUDGED AND DECREED that Plaintiff has a superior lien against the
   real property and improvements located in Bell County. Texas, commonly known as 1141 Ashley
   Drive, Nolanville, TX 76559-4504 and more particularly described as:
           LOT TWELVE (12), IN BLOCK THREE (3), OF NOLANVILLE ESTATES,
           FIRST REPLAT IN CITY OF NOLANVILLE, BELL COUNTY. TEXAS,
           ACCORDING TO THE FLAT OF RECORD IN CABINET A, SLIDE 373-C.
           FLAT RECORDS OF BELL COUNTY TEXAS. (The "Property").


          Ills further,
         ORDERED, ADJUDGED AND DECREED that Defendant's lien on the Property                  is
  extinguished due to satisfaction. It is further,
          ORDERED, ADJUDGED AND DECREED that any relief not specifically granted in
  this order is DENIED and any party not otherwise disposed of is DISMISSED. This is a linal
  judgment. disposing of all parties and all claims and may be appealed by any party hereto.


         Signed this      Z.      day of                    .   2019.




                                                    PRESDING JUDGE

  AGREED AS TO FORM AND SUBSTANCE AND ENTRY REQUESTED:
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   AGREED JUDGMENT
   MWZM:                                                  15-001044-

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